Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5192 Page 1 of 6
Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5193 Page 2 of 6
Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5194 Page 3 of 6
Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5195 Page 4 of 6
Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5196 Page 5 of 6
Case 2:11-cr-00107-WFN   ECF No. 1203   filed 10/15/12   PageID.5197 Page 6 of 6
